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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
Civil Action No. 14-cv-01577-RPM

NANCY MARKS,

        Plaintiff,
v.

COLORADO DEPARTMENT OF CORRECTIONS;
JEFFERSON COUNTY BOARD OF COMMISSIONERS;
INTERVENTION, INC.;
SUSAN KELLER, Community Parole Officer, Colorado Department of Correction, in her
individual and official capacities;
KRISTIN HEATH, Program Director, Intervention Community Corrections Services, in her
individual and official capacities; and
RICK RAEMISCH, Executive Director Colorado Department of Corrections, in his individual
and official capacities,

        Defendants.



     MOTION FOR RECONSIDERATION OF ORDER DISMISSING INDIVIDUAL
          CLAIMS AGAINST DEFENDANT KRISTIN HEATH (Doc. 40)




        Plaintiff, by and through her attorneys, David A. Lane and Nicole B. Godfrey of

KILLMER, LANE & NEWMAN, LLP, hereby respectfully requests that this Court reconsider its

ruling dismissing Claims 4 and 5 of Plaintiff’s Amended Complaint and Jury Demand [Doc. 33]

as asserted against Defendant Heath in her individual capacity. 1


1
 In this motion, Plaintiff requests reconsideration of the grant of qualified immunity against Defendant Heath only.
In so doing, however, Plaintiff does not forfeit her arguments regarding the qualified immunity defense raised by
Defendants Raemisch and Keller as set forth in Plaintiff’s Response to CDOC Defendants’ Motion to Dismiss [Doc.
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                    CERTIFICATION PURSUANT TO D.C.COLO.LCivR.7.1

        Counsel for Plaintiff, Nicole B. Godfrey, conferred with counsel for Defendants, Kristin

Lockwood, Tom Stocker, and Patricia Gilbert, via e-mail on January 21, 2015. Counsel for

Defendants Intervention, Inc. and Heath indicate that they oppose the motion. Counsel for

Jefferson County Board of Commissioners stated that the County has no objection to the filing of

the motion and takes no position on the relief requested. Counsel for Defendants CDOC, Keller,

and Raemisch take no position on the motion.

           INTRODUCTION AND RELEVANT PROCEDURAL BACKGROUND

        Plaintiff Nancy Marks filed the instant lawsuit to redress the violation of her rights under

the United States Constitution, the Americans with Disabilities Act (“ADA”), and the

Rehabilitation Act of 1973 on June 4, 2014. In her initial Complaint and Jury Demand [Doc. 1],

Ms. Marks named six Defendants: the Colorado Department of Corrections (“CDOC”), the

Jefferson County Corrections Board (“JCCB”), Intervention Community Corrections Services

(“ICCS”), Susan Keller, Kristin Heath, and Rick Raemisch. As is relevant here, Defendants

ICCS and Heath filed a partial answer [Doc. 13] and a partial motion to dismiss (only as to claim

3, brought under the ADA) [Doc. 14]. Importantly, Defendant Heath never raised the defense of

qualified immunity in her answer or partial motion to dismiss. Nevertheless, the Court sua

sponte dismissed Claims 4 and 5 as against Defendant Heath in its January 8, 2015 order [Doc.

40] on the basis of qualified immunity. 2 For the reasons outlined below, the Court’s holding

clearly contradicts controlling Supreme Court and Tenth Circuit precedent and, therefore,

27]. Plaintiff hereby preserves her previous arguments for later appeal and applies those arguments to Defendant
Heath, should this Court or an appellate court determine that Defendant Heath can lawfully assert the defense of
qualified immunity.
2
  Plaintiff filed an amended complaint and jury demand on January 7, 2015 to substitute correct parties and add
additional factual allegations. Plaintiff asserted the same claims for relief as to Defendant Heath.

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Plaintiff respectfully requests reconsideration of this Court’s dismissal of Claims 4 and 5 as

applied to Defendant Heath.



                                     STANDARD OF REVIEW

         Federal Rule of Civil Procedure 54 (b) provides, in pertinent part:

         …any order or other decision, however designated, that adjudicates fewer than all the
         claims or the rights and liabilities of fewer than all the parties does not end the action as
         to any of the claims or parties and may be revised at any time before entry of a judgment
         adjudicating all the claims and all the parties’ rights and liabilities.


Generally, this Court has broad discretion to reconsider its interlocutory orders prior to entry of

judgment. Rimbert v. Eli Lilly & Co., 647 F.3d 1247, 1251 (10th Cir. 2011) ("district courts

generally remain free to reconsider their earlier interlocutory orders"); Price v. Philpot, 420 F.3d

1158, 1167 n. 9 (10th Cir. 2005). To succeed in a motion to reconsider, "a party must set forth

facts or law of a strongly convincing nature to induce the court to reverse its prior decision."

Nat’l Bus. Brokers, Ltd. V. Jim Williamson Prods., Inc., 115 F.Supp.2d 1250, 1256 (D. Colo.

2000) (internal quotation marks and citation omitted). "[A] motion for reconsideration is

appropriate where the court has misapprehended the facts, a party's position, or the controlling

law. It is not appropriate to revisit issues already addressed or advance arguments that could have

been raised in prior briefing." Servants of the Paraclete v. Does, 204 F.3d 1005, 1012 (10th Cir.

2000).

                                            ARGUMENT

         Qualified immunity shields government officials from civil liability for constitutional

torts "insofar as their conduct does not violate clearly established statutory or constitutional


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rights of which a reasonable person would have known." Harlow v. Fitzgerald, 457 U.S. 800,

818 (1982). While qualified immunity arises principally in the context of constitutional torts, its

availability does not inevitably follow from the fact that a defendant is subject to such liability:

"[Section] 1983 immunity does not automatically follow § 1983 liability." Richardson v.

McKnight, 521 U.S. 399, 412 (1997). Defendant Heath is not a government actor; consequently,

the Court’s order granting qualified immunity to her is clearly erroneous and should be modified.

Thus, reconsideration of the Court's January 8, 2015 order dismissing Plaintiff's claims against

Defendant Heath on the basis of qualified immunity is appropriate here. The Court's order

misapprehends the facts and controlling law as applied to Defendant Heath, and Plaintiff has

never been afforded the opportunity to raise the arguments presented here. Therefore, this Court

should reconsider its prior ruling, and reinstate claims 4 and 5 against Defendant Heath.

       Defendant Heath has never asserted the defense of qualified immunity, and under

existing Supreme Court and Tenth Circuit precedent, such a defense is unavailable to her. In fact,

the Supreme Court has unequivocally held that the defense of qualified immunity is not generally

available to employees of a private corporation or other private defendants. Richardson, 521 U.S.

at 412; Wyatt v. Cole, 504 U.S. 158, 167-68 (1992). Absent "special reasons significantly

favoring an extension of governmental immunity," private actors "do not enjoy immunity from

suit." Id. Significantly, this Court has recognized "that the Tenth Circuit has held that prison

guards employed by private companies are not entitled to qualified immunity." Stanley v.

McMillian, 2014 U.S. Dist. LEXIS 25196, *17 (D. Colo. Feb. 26, 2014), citing Phillips v. Tiona,

508 F. App'x 737, 751-52 (10th Cir. 2013) ("whereas . . . CDOC . . . employees in their

individual capacities enjoy qualified immunity in s. 1983 damages actions, CCA and its private


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prison employees" do not). Likewise, post-Richardson, other circuits have rejected the

application of the qualified immunity defense for private parties operating under contract for the

government. See, e.g., Cook v. Martin, 148 Fed. Appx. 327, 342 (6th Cir. 2005) (no qualified

immunity for private providers of prison medical services); Malinowski v. DeLuca, 177 F.3d

623, 624 (7th Cir. 1999) (no qualified immunity for privately employed building inspectors);

Jensen v. Lane County, 222 F.3d 570, 578 (9th Cir. 2000) (no qualified immunity for provider of

psychiatric care services); Halvorsen v. Baird, 146 F.3d 680, 685 (9th Cir. 1998) (no qualified

immunity for provider of involuntary commitment services for inebriates); Hinson v. Edmond,

192. F.3d 1342, 1345 (11th Cir. 1999) (no qualified immunity for private providers of prison

medical services).

       Admittedly, none of the above cases addressed the exact factual circumstance at issue

here: whether a private community corrections provider is entitled to qualified immunity.

However, the rationale of Richardson is instructive and controlling. In Richardson, the Supreme

Court identified three chief justifications for qualified immunity: (1) "protecting the public from

unwarranted timidity on the part of public officials" and "encouraging the vigorous exercise of

official authority;” Richardson, 521 U.S. at 408; (2) preventing lawsuits from distracting

government officials from their official duties, id.; and (3) "ensuring that talented candidates

[are] not deterred by the threat of damages suits from entering public service," id. (internal

citations omitted).

       In analyzing these policy justifications, the Supreme Court was persuaded in Richardson

that market forces competing to provide safe and efficient prison services would subsume any

unwarranted timidity. Id. at 408-11. Likewise, here, Plaintiff's Amended Complaint and Jury


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Demand alleges that Defendant Heath works for Intervention, Inc., a corporation that contracts

with Jefferson County, Colorado, and the State of Colorado to provide community corrections

services to persons serving a criminal sentence in Jefferson County's community corrections

program. See Doc. 38 at ¶¶26-41. Presumably, Intervention, Inc. is in competition with other

community corrections providers for this contract, and Plaintiff should, at a minimum, be

afforded the opportunity to engage in limited discovery to overcome this qualified immunity

defense. See Weise v. Casper, 507 F.3d 1260, 1263 (10th Cir. 2007) (noting that the post-

Richardson the district court allowed for limited discovery on the issue of "Defendants' status at

the time of the conduct at issue, whether Defendants were 'closely supervised' by government

officials, and whether Defendants are entitled to assert [a] qualified immunity [defense] . . . .")

(internal quotations omitted).

       Additionally, the Supreme Court in Richardson noted that insurance was available to the

private company to limit exposure for violations of prisoners' rights and that employee

indemnification agreements would limit the deterrence effect on qualified

candidates. Richardson, 521 U.S. at 410-11. Like in Richardson, Intervention, Inc. likely has

insurance and Defendant Heath may have an indemnification agreement. Again, Plaintiff's

claims against Defendant Heath should be permitted to stand until, at a minimum, Plaintiff has

been afforded the opportunity to engage in limited discovery on this issue, too. See Weise, 507

F.3d at 1263.

       Moreover, the Supreme Court noted that private firms (like Intervention, Inc.) have the

flexibility to deal with over- or under-zealous employees, a trait not available to the government

due to civil-service restrictions. Richardson, 521 U.S. at 410. Finally, the Richardson court held


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that distraction from litigation, alone, was insufficient to justify allowing a private actor to raise

the defense of qualified immunity. Id. at 411-12.

       Therefore, this case is similar to Richardson in all relevant aspects, and this Court should

reconsider its holding that Defendant Heath is entitled to qualified immunity. Intervention, Inc. is

a privately organized corporation providing services to the government pursuant to contract. The

privatization and market forces arguments applicable in Richardson also apply here.

Intervention, Inc. must provide its community corrections services to Jefferson County with the

market threat of replacement for failure to adequately complete their duties. As in Richardson,

the potential for insurance, indemnification agreements, and higher pay all may operate to

encourage qualified candidates to apply to work for Intervention, Inc. and to vigorously

discharge their duties. Thus, under the factual circumstances presented here and applicable

controlling precedent, Defendant Heath is not entitled to assert the defense of qualified

immunity.

                                          CONCLUSION

       For the reasons set forth above, Plaintiff respectfully requests that this Court reconsider

its January 8, 2015 order dismissing Plaintiff’s claims asserted against Defendant Heath in her

individual capacity and allow Plaintiff’s case to proceed as to these claims. In the alternative,

Plaintiff respectfully requests that she be afforded the opportunity to engage in limited discovery

to address the applicability of the qualified immunity defense Defendant Heath, a private actor.




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      Dated this 21st day of January, 2015.

                                              KILLMER, LANE & NEWMAN, LLP

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